     Case 2:14-cr-00328-KJD-NJK       Document 59       Filed 03/20/15     Page 1 of 1



 1
 2
 3
 4
 5
 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                                ***
 9    UNITED STATES OF AMERICA,                         )
                                                        )
10                                Plaintiff,            )          2:14-cr-00328-KJD-NJK
                                                        )
11    vs.                                               )
                                                        )
12    MANUELLE ALKEINE,                                 )                ORDER
                                                        )
13                                Defendant.            )
                                                        )
14
15           Pending before the Court is Defendant’s Motion to Suppress Evidence. Docket No. 57. The
16    Court hereby SETS an evidentiary hearing on this motion, for April 21, 2015, at 1:30 p.m. in
17    Courtroom 3A.1
18           IT IS SO ORDERED.
19           DATED: March 20, 2015.
20
21
22
                                                 NANCY J. KOPPE
23                                               United States Magistrate Judge
24
25
26
27
28
             1
             The Court has not yet made a ruling on the United States’ argument regarding standing.
      Therefore, the evidentiary hearing will go to all arguments raised in Defendant’s motion.
